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AO 442 (Rev. 01/09) Arrest Warrant FLO I 79636.
UNITED STATES DISTRICT COURT

for the RECEIVED
UNITED STATES MARSHAL
District of South Carolina
7:23 am, Apr 23 2025
United States of America DISTRICT OF SOUTH CAROLINA
v. COLUMBIA
FNU NAIMULLAH, a/k/a "Nick" a/k/a “Naim Orakzai" ) Case No. 3:25¢r606
a/Wwa “Mullah” a/k/a *Nai Mullah” a/k/a "Nick John” )
alk/a “Nai Ullah” )
"Defendant
ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) ~FNU NAIMULLAH, a/k/a “Nick” a/k/a “Naim Orakzai” “Nick", “Naim Orakzai", “Mullah”, ‘Nai Mull ,
who is accused of an offense or violation based on the following document filed with the court:

& Indictment © Superseding Indictment O Information © Superseding Information © Complaint
© Probation Violation Petition J Supervised Release Violation Petition O Violation Notice Order of the Court

This offense is briefly described as follows:

Title 18, United States Code, Sections 1956(h), 982(a)(1)
Title 21, United States Code, Sections 853
Title 28, United States Code, Section 2461(c)

Date: 04/22/2025 ___ sf Sharon Welch-Meyer, Deputy Clerk

Issuing officer's signature

City and state: Florence, SC ROBIN BLUME, Clerk

Printed name and title

Return

This warrant was vopived on (date) 4/23/25 , and the person was arrested on (date) Y [ 23/28
at (city and state) (3 d noi a; SC
“L~__ fL

Date: U {23} 29 fon, Poe
r Arresting officer's Signature
[Fe Jaron Dev dson,

Printed name and title

USCA4
